
Julie A. Tupler, Appellant, 
againstEtty Rosenbaum, Respondent.




Julie A. Tupler, appellant pro se.
Etty Rosenbaum, respondent pro se (no brief filed).

Appeal from a judgment of the Civil Court of the City of New York, Kings County (Devin P. Cohen, J.), entered April 13, 2016. The judgment, after a nonjury trial, dismissed the action.




ORDERED that the judgment is affirmed, without costs.
In this small claims action, plaintiff seeks to recover the sum of $3,500, alleging that she had entered into a two-year, nonseverable licensing agreement with defendant and that defendant had breached that agreement. After a nonjury trial, the Civil Court dismissed the action.
In a small claims action, our review is limited to a determination of whether "substantial justice has . . . been done between the parties according to the rules and principles of substantive law" (CCA 1807; see CCA 1804; Ross v Friedman, 269 AD2d 584 [2000]; Williams v Roper, 269 AD2d 125, 126 [2000]). Furthermore, the determination of a trier of fact as to issues of credibility is given substantial deference, as a trial court's opportunity to observe and evaluate the testimony and demeanor of the witnesses affords it a better perspective from which to assess their credibility (see Vizzari v State of New York, 184 AD2d 564 [1992]; Kincade v Kincade, 178 AD2d 510, 511 [1991]). This deference applies with greater force to judgments rendered in the Small Claims Part of the court (see Williams v Roper, 269 AD2d at 126).
Upon a review of the record, we find that the judgment provided the parties with substantial justice according to the rules and principles of substantive law (CCA 1804, 1807).
Accordingly, the judgment is affirmed.
ELLIOT, J.P., PESCE and ALIOTTA, JJ., concur.

ENTER:Paul KennyChief ClerkDecision Date: January 19, 2018










